                     Case 2:05-cr-00448-EJG Document 78 Filed 07/05/06 Page 1 of 4
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                      v.                                                 (For Offenses Committed On or After November 1, 1987)
               GRISELDA ALEJO.                                           Case Number: 2:05CR0448-04


                                                                         Dina Santos
                                                                         Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to a one-count Superseding Information .
[]       pleaded nolo con tendere to coun ts(s)    which wa s ac cep ted by the co urt.
[]       was foun d guilty on coun t(s)  after a plea of n ot guilty.

ACCORDINGLY, the court has adjudicated that the defend ant is guilty of the following offense(s):
                                                                                            Date Offense             Count
Title & Section                     Nature of Offense                                       Concluded                Num ber(s)
8 USC 1325                          Illegal Entry into the United States                    4/15/04                  1




       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendan t has been fou nd not guilty on coun ts(s)           and is discharged as to such c ount(s).

[]       Coun t(s)     (is)(are) dismissed on the motion of the United States.

[U]      Indictment, as to this defendant, has been dismissed by District Court on motion of the United States.

[]       Appeal rights given.                          [U]       Appeal rights waived.

        IT IS FURTHER ORD ERED that the defendant shall notify the United States Attorney for this district within 30
days of an y change of na m e, res idence, or m ailing ad dres s until all fines , restitution , cos ts, and sp ecial assess m ents
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                                            June 27, 2006
                                                                                   Date of Imposition of Judgment




                                                                                         /s/ Edwa rd J. G arcia

                                                                                     Signature of Judicial Officer

                                                                        ED W ARD J. GARC IA, United States District Judge
                                                                                Nam e & Title of Judicial Officer

                                                                                                June 30, 2006
                                                                                                    Da te
                    Case 2:05-cr-00448-EJG Document 78 Filed 07/05/06 Page 2 of 4
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:              2:05CR0448-04                                                                   Judgment - Page 2 of 4
DEFENDANT:                GRISELDA ALEJO


                                                        IMPRISONMENT
         The defendan t is hereby comm itted to the custody of the United States B ureau of Prisons to be imprisone d for a
total term of TIME SERVED .




[]      The court makes the following recomm endations to the Bureau of Prisons:




[]      The defendant is rem anded to the custo dy of the U nite d State s M arshal.


[]      Th e de fendan t shall surren der to the U nited S tates Ma rshal for this district.
        [ ] at     on     .
        [ ] as notified by the Un ited Sta tes Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the Un ited Sta tes Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no s uch institution has bee n de signated , to the U nited S tates Ma rshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                         By
                                                                                                  Deputy U.S. Marshal
                       Case 2:05-cr-00448-EJG Document 78 Filed 07/05/06 Page 3 of 4
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:05CR0448-04                                                                                Judgment - Page 3 of 4
DEFENDANT:                    GRISELDA ALEJO


                                          CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessm ent                          Fine                     Restitution
       Totals:                                        $ 10.00                             $                           $


[]     The determ ination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
       ente red a fter such determ ination.

[]     The defendant must m ake restitution (including comm unity restitution) to the following payees in the amount listed
       below.

       If the defendant mak es a partial payment, each payee shall receive an approximately proportioned payment, unless
       spe cified o therw ise in the priority order or perc enta ge p aym ent colum n be low. H owe ver, pursuan t to 18 U .S.C . §
       3664(i), all nonfederal victims m ust be paid before the United States is paid.




Name of Payee                                       Total Loss*                  Restitution Ordered       Priority or Percentage


       TOTALS:                                           $                               $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant m ust pay interest o n re stitu tion and a fine of m ore than $2,50 0, unless the res titution or fine is paid in fu ll
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
       Sheet 6 m ay be subject to penalties for delinquency and default, pursuant to 18 U.S .C. § 3612(g).

[ ]       Th e co urt de term ined that the defe nda nt does n ot have the ability to pay intere st and it is ordered that:

       [ ] The interest requirement is waived for the                 [ ] fine           [ ] restitution

       [ ] The interest requirement for the                  [ ] fine [ ] restitution is m odified as fo llows:




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
comm itted on or after September 13, 1994, but before April 23, 1996.
                       Case 2:05-cr-00448-EJG Document 78 Filed 07/05/06 Page 4 of 4
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:05CR0448-04                                                                               Judgment - Page 4 of 4
DEFENDANT:                   GRISELDA ALEJO

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due imm ediately, balance due

           []      not later than    , or
           []      in acc orda nce with          [ ] C,   [ ] D,   [ ] E, or       [ ] F below; or

B    [U]           Payment to begin imm ediately (may be combined with             [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Pa ym ent in equal   (e.g., weekly, monthly, quarterly) installments of $    over a period of               (e.g., months or
         years), to comm ence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Pa ym ent in equal   (e.g., weekly, monthly, quarterly) installments of $  over a period of    (e.g., months or
         years), to comm ence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will comm ence within  (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or

F    [ ] Special instruc tions rega rding the paym ent of crim inal m one tary penalties:




Unless the c ourt has exp ressly ordered otherwise, if this judgm ent impo ses im prisonm ent, paymen t of criminal mo netary
penalties is due during imprisonment. All criminal monetary penalties, except those payments m ade through the Federal
Bureau of Prisons' Inm ate F inancial Resp ons ibility Program , are m ade to the c lerk of the cou rt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Nam es and Case Num bers (including defendant number), Total Amount, Joint and Several
Am oun t, and corresp ond ing pa yee, if approp riate:




[]   The defendant shall pay the cost of prosecution.

[]   Th e de fendan t shall pay the following cou rt cos t(s):

[]   Th e de fendan t shall forfeit the defe nda nt’s interest in the follow ing prope rty to the U nited S tates:
